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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I, Caolan Ruadhan Scott, being first duly sworn, hereby depose and state as follows:

                              Introduction and Agent Background

       1.      I am a Special Agent with the Federal Bureau of Investigation (“FBI”). I am

currently assigned to the FBI’s Rhode Island Safe Streets Gang Task Force (hereinafter, the

“Task Force”) and investigate violent street gangs and drug/firearms trafficking organizations

operating in and around the State of Rhode Island. As such, I am a law enforcement officer of the

United States within the meaning of Federal Rule of Criminal Procedure 41(a)(2)(C), that is, a

government agent engaged in enforcing the criminal laws and duly authorized by the Attorney

General to request a search warrant.

       2.      I have received training in the field of narcotics and firearms enforcement and

investigations. I am familiar with the habits, methods, routines, practices and procedures

commonly employed by persons engaged in the trafficking of illegal firearms and drugs. I have

been the affiant on dozens of affidavits in support of search warrants, arrest warrants, T-III

wiretap affidavits, GPS location warrants and other applications. Through my training,

education and experience, I have become familiar with the manner in which illegal narcotics and

firearms are transported, stored, and distributed, and with the methods of payment for such items.

                                             Purpose

       3.      This affidavit is submitted in support of applications for search warrant

authorizing the search of United States Postal Service Priority Mail Parcel Bearing Label




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Number 9505510980581239594873, addressed to Nancy Sanchez, 294 Swan Street, 1 Floor,

Providence, RI, 02905 (herein referred to as the “SUBJECT PARCEL”).

       4.      A full description of the SUBJECT PARCEL to be searched pursuant to issuance

of the search warrant is attached hereto as Attachment A-1.

       5.      This investigation has uncovered evidence establishing probable cause to believe

that the above listed SUBJECT PARCEL is violating: 21 U.S.C. §§ 841(a)(1) and 846,

possession with intent to distribute and distribution of controlled substances and conspiracy to do

the same.

       6.      The facts in this affidavit come from my personal observations, my training and

experience, evidence obtained from related investigations, and information or experience from

other agents and witnesses. This affidavit is intended to show merely that there is probable cause

for the requested search warrant and does not set forth all of my knowledge about this matter.

        General Background Concerning The Shipment Of Drugs And Drug Sale Proceeds

                                        Through The U.S. Mails

       7.      Based on my training and experience, I am familiar with narcotics traffickers’

methods of operation, including methods used by them to distribute, store, and transport

narcotics and to collect, expend, account for, transport, and launder drug proceeds. I am also

familiar with the manner in which narcotics traffickers use personal and rented cars and trucks,

common carriers, mail, and private delivery services, and a variety of other motor vehicles, to:

(a) meet with co-conspirators, customers and suppliers; (b) transport, distribute, and purchase

narcotics; (c) transport funds used to purchase narcotics; and (d) transport the proceeds of

narcotics transactions.

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       8.      Based on my training and experience, I know that narcotic trafficking typically

involves the local, interstate, and international movement of illegal drugs to distributors and co-

conspirators at multiple levels, and the movement of the proceeds of narcotics trafficking among

multiple participants including suppliers, customers, distributors, and money launderers.

       9.      I know from my training and experience and from drug trafficking intelligence

information gathered by the USPIS that U.S. Postal Service Express Mail and Priority Mail are

frequently utilized by drug traffickers for shipping drugs and drug proceeds. Use of Express

Mail and Priority Mail are favored because of the speed, reliability, free telephone and Internet

package tracking service, as well as the perceived minimal chance of detection. Express Mail

and Priority Mail were originally intended for urgent, business-to-business, correspondence.

However, based on USPIS intelligence and my personal experience with numerous prior

packages that were found to contain contraband, these types of packages containing contraband

are usually sent from an individual to an individual.

       10.     In an effort to combat the flow of controlled substances through the U. S. mails,

interdiction programs have been established in cities throughout the United States by the USPIS.

These cities have been identified as known sources of controlled substances. The USPIS

conducted an analysis of prior packages which were found to contain drugs and drug proceeds.

The analysis of prior packages that were found to contain drugs or drug proceeds indicated that

these packages are usually from an individual to an individual. In the few cases when Express

Mail and Priority Mail packages containing drugs or drug proceeds have displayed a business or

company name, it has usually proven to be a fictitious business or company. Additionally, this

analysis has established a series of package characteristics which, when a package is found with

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a combination of two or more characteristics described below, have shown high probability that

the package will contain a controlled substance or the proceeds of controlled substance sales.

These characteristics include the following: (1) package is mailed from or addressed to a narcotic

source city; (2) package has a fictitious return/sender address or name; (3) package has address

information which is handwritten; (4) the handwritten label on the Express Mail or Priority Mail

article does not contain a business account number, thereby indicating that the sender paid cash;

(5) package is addressed from an individual to an individual and (6) package is heavily taped.

                                         Description of Parcel

       11.     On August 31, 2021, the SUBJECT PARCEL, a Priority Mail Parcel bearing label

number 9505510980581239594873 addressed to “Nancy Sanchez, 294 Swan Street, 1 Floor,

Providence, RI, 02905,” with a return address of “Brenda Nieves, P.O. Box 3218, Guayama,

P.R., 00785” was observed in the mail stream at the Providence Processing and Distribution

Center (P&DC). The package is approximately 15 inches long, 12 inches wide, and 10 inches

deep, weighing approximately 11 pounds, 6 ounces. The SUBJECT PARCEL Priority Mail

label indicates that this parcel was mailed on August 27, 2021, from Salinas, Puerto Rico, 00751.

Based on my training and experience in narcotic related investigations, I know that Puerto Rico

is a drug source territory. The package bore no business account number, thus indicating that the

package was paid for in cash. The package also has a hand-written label and was addressed from

an individual to an individual. Finally, the package was heavily taped on almost all the creases,

which I know based on my training and experience in narcotic related investigations, is an

attempt to avoid K-9 detection from the odor of controlled substances.

                                     Statement of Probable Cause

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       12.     On August 31, 2021, Postal Inspectors from the United States Postal Inspection

Service observed within the mail stream, the SUBJECT PARCEL destined for an address in

Providence, Rhode Island.

                                          Address Information

       13.     Regarding the sender information, through the use of law enforcement

verifications systems and CLEAR databases, which maintains names, addresses, and zip code

information, I verified that there are two U.S. Post Offices in Guayama, Puerto Rico, and through

the United States Postal Inspection Service (“USPIS”) that P.O. Box listed on the return address

does exist, however, an Inspector with the USPIS could find no association of the name Brenda

Nieves with the P.O. Box. When “Brenda Nieves” name was searched, over 200 results were

located in that area. I know that narcotics traffickers often use fictitious sender names along with

existing return addresses on parcels containing controlled substances or proceeds from the sale of

controlled substances. I know that an existing address lends a legitimate appearance to the

parcel. In the event the parcel is intercepted by law enforcement, the false sender name protects

the true identity of the mailer. Regarding the addressee information, I verified that the address of

294 Swan Street, 1st Floor, Providence, RI, 02905 does exist and is a legitimate address. Through

law enforcement database checks, I was also able to attribute 294 Swan Street with the

addressee, “Nancy Sanchez.

                                            Canine Response

       14.     On August 31, 2021, Police K-9 Trooper Justin Andreozzi, of the Rhode Island

Stater Police K-9 Unit, was contacted in regard to a narcotic examination with his narcotic

trained K-9 Riggs. K-9 Riggs is certified in the detection of heroin, and cocaine by the New

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England State Police Administrators Conference (NESPAC). Trooper Andreozzi advised that K-

9 Riggs has been previously found to be reliable in the detection of narcotics and has been

responsible for numerous narcotic and currency seizures.

       15.     The SUBJECT PARCEL was placed in an area known not to have been

previously contaminated by a narcotic odor. Trooper Justin Andreozzi had K-9 Riggs search the

area. Other packages were also placed in this area as controls. Upon arriving at the SUBJECT

PARCEL, K-9 Riggs reacted in a positive manner, indicating the presence of a narcotic odor.

No further indications were observed in the search area. Based on my training and experience, I

know that a positive alert by a certified narcotics K-9 is a strong indicator that the parcel contains

narcotics or had recently been in close proximity to narcotics.

                                                Conclusion

       16.     Based on these facts, I believe there is probable cause to believe that the

SUBJECT PARCEL contains controlled substances or proceeds from the trafficking of

controlled substances, constituting evidence of violations of Title 21, United States Code,

Sections 841(a)(1), Possession with Intent to Distribute Controlled Substances; and Title 21,

United States Code, Section 846, conspiracy to do the same. Accordingly, I respectfully request

that this Court issue a search warrant authorizing the search of the SUBJECT PARCEL

described in Attachment A.




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                                I declare that the foregoing is true and correct.




      Attested to by the applicant in accordance with the requirements of Fed.
      R. Crim. P. 4.1 by ______telephone________________________________.
                               (specify reliable electronic means)

 ______________________                __________________________________
        Date                                 Judge’s signature

 Providence, Rhode Island___           __________________________________
      City and State                   Patricia A. Sullivan, U.S. Magistrate Judge




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                                      ATTACHMENT A

                  (Description of the SUBJECT PARCEL to be searched)

       One United States Postal Service Priority Mail package bearing label number

9505510980581239594873 addressed to “Nancy Sanchez, 294 Swan Street, 1 Floor, Providence,

RI, 02905” with a return address of “Brenda Nieves, P.O. Box 3218, Guayama, P.R., 00785”,

was observed in the mail stream at the Providence Processing and Distribution Center (P&DC).

The package is approximately 15 inches long, 12 inches wide, and 10 inches deep, weighing

approximately 11 pounds, 6 ounces. The SUBJECT PARCEL Priority Mail label indicates that

this parcel was mailed on August 27, 2021, from Salinas, Puerto Rico, 00751. The package is

currently in the possession of the United States Postal Inspection Service.




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                                       ATTACHMENT B

                              (Items to be searched for and seized)

       Items, documents, records, files, and other information that constitutes evidence, fruits,

and/or other instrumentalities of violations of 21 U.S.C. §841(a)(1), possession with intent to

distribute controlled substances; and 21 U.S.C. §846 conspiracy to distribute controlled

substances; including but not limited to narcotics, money, records relating to narcotics and/or

money, and/or records relating to the identity of the individual who shipped the package or the

intended recipient of the package.




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